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     Research LLC, Dfinity Foundation and
17   Dominic Williams

18                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
19
20   DANIEL VALENTI, Individually and on Behalf        Case No.: 3:21-cv-06118-JD
     of All Others Similarly Situated,
21                                                     DEFENDANTS’ MOTION
                                 Plaintiff,            TO DISQUALIFY ROCHE
22                                                     FREEDMAN LLP AND
               v.                                      MEMORANDUM OF POINTS AND
23
                                                       AUTHORITIES IN SUPPORT
24   DFINITY USA RESEARCH LLC, DFINITY
     FOUNDATION and DOMINIC WILLIAMS,                  Date: November 17, 2022
25                                                     Time: 10:00 a.m.
                                 Defendants.           Courtroom: 11, 19th Floor
26                                                     Judge: Hon. James Donato
27

28


                     DEFENDANTS’ MOTION TO DISQUALIFY ROCHE FREEDMAN LLP
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 1                                  NOTICE OF MOTION AND MOTION

 2          TO THE HONORABLE COURT, ALL PARTIES AND THEIR ATTORNEYS OF

 3   RECORD:

 4          PLEASE TAKE NOTICE THAT on November 17, 2022, at 10 a.m., or as soon thereafter

 5   as counsel may be heard, in the courtroom of the Honorable James Donato, 450 Golden Gate

 6   Ave., San Francisco, CA 94102, Courtroom 11, 19th Floor, Defendants Dfinity USA Research,

 7   LLC, Dfinity Foundation, and Dominic Williams (together, “Defendants”) will and do hereby

 8   move the Court for an order disqualifying Roche Freedman LLP as Lead Counsel in the above-

 9   captioned action.

10          This motion is made pursuant to California Rules of Professional Conduct Rule 1.7 and

11   Rule 1.10, and is based upon this Notice of Motion and the Memorandum of Points and

12   Authorities in Support, the Declaration of Kevin J. Orsini and exhibits attached thereto, the

13   Request for Judicial Notice filed herewith, and such argument as may be heard.

14                                      ISSUE TO BE DECIDED

15          Whether Roche Freedman LLP should be disqualified from representing Lead Plaintiffs

16   and the putative class in the above-captioned action because Kyle Roche violated California Rule

17   of Professional Conduct 1.7 and that violation is imputed to Roche Freedman LLP pursuant to

18   California Rule of Professional Conduct 1.10.

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 6
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 5       867 F. Supp. 2d 1068 (C.D. Cal. 2012) ...................................................................................15
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12      20-cv-02804 (S.D.N.Y.).......................................................................................................7, 15

13   Hitachi, Ltd. v. Tatung Co.,
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15      179 F. Supp. 2d 1157 (C.D. Cal. 2001) ...............................................................................8, 14
16   In re Coordinated Pretrial Proc. in Petroleum Prod. Antitrust Litig.,
17       658 F.2d 1355 (9th Cir. 1981) .................................................................................................13

18   In re Cty. of Los Angeles,
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20       19-cv-9236 (S.D.N.Y.) ....................................................................................................7, 8, 15
21   Jeong v. Nexo Financial LLC, et al.,
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23   Kayes v. Pac. Lumber Co.,
        51 F.3d 1449 (9th Cir. 1995) .....................................................................................................9
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25      No. 22-11150 (11th Cir. September 6, 2022) ............................................................................7
26   Klein v. Facebook, Inc.,
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 9
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.       INTRODUCTION
 3            Defendants respectfully ask this Court to disqualify Roche Freedman LLP (“Roche
 4   Freedman”) as Lead Counsel to Lead Plaintiff and the putative class due to violations of the
 5   California Rules of Professional Conduct recently revealed in a shocking series of video clips of
 6   Kyle Roche—a founding partner of Roche Freedman. On camera, Mr. Roche details his misuse
 7   of the legal system to advance the commercial interests of Ava Labs, a cryptocurrency client in
 8   which he owns substantial equity. Mr. Roche boasts that he uses litigation as a “tool [for]
 9   competition” by (1) filing lawsuits against Ava Labs’ competitors on behalf of purported classes
10   he refers to as “10,000 idiots,” (2) obtaining confidential information by “su[ing] half the
11   companies in this space” in order to “see[] the insides” of other blockchain companies to advise
12   Ava Labs, (3) “making sure the SEC and the CFTC have other magnets to go after” to deflect
13   attention from Ava Labs, and (4) enforcing the personal vendettas of Ava Labs’ CEO. As
14   described herein, Mr. Roche demonstrates a disregard for the integrity of the judicial system,
15   calling jurors and his own clients “idiots” and boasting that he has the “power” and “resources”
16   to take Ava Labs’ competitors “to the end”, thus disregarding the best interests of the putative
17   class.
18            In a clear attempt to avoid the disqualification of his firm, Mr. Roche individually
19   withdrew as counsel of record for the putative class soon after the videos were released. He has
20   taken this same approach in several other class actions he and his law firm filed against other
21   Ava Labs competitors, in which defendants and co-lead counsel have similarly moved to
22   disqualify Roche Freedman. See Declaration of Kevin J. Orsini, Exhibits 2 to 11 attached thereto
23   (“Ex(s).”).
24            Mr. Roche’s individual withdrawal is insufficient to cure the professional conduct
25   violations, stated conflict of interest, and impropriety that now taint Roche Freedman’s
26   representation of the putative class. In putative class actions such as this one, appointed lead
27   counsel are subject to a heightened standard, and must be able to show they can fairly and
28   adequately represent the interests of the class. Courts in this circuit have held that

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                       DEFENDANTS’ MOTION TO DISQUALIFY ROCHE FREEDMAN LLP
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 1   disqualification in the class action context is more compelling and more likely than in individual

 2   representations, as the court has an obligation to closely scrutinize counsel’s ability to represent

 3   absent class members. Here, Mr. Roche’s statements reveal that Roche Freedman does not meet

 4   that heightened standard. The video clips demonstrate that Mr. Roche has violated California

 5   Rule of Professional Conduct 1.7(b), which prevents a lawyer from representing a client if there

 6   is a risk that the representation will be impacted by the lawyer’s own interests or those of another

 7   client. This violation, in turn, prevents Roche Freedman from continuing as counsel pursuant to

 8   California Rule of Professional Conduct 1.10, providing for vicarious disqualification of the

 9   associated firm.

10          Given Roche Freedman’s size—a boutique firm with fewer than ten partners—and

11   Mr. Roche’s position as a named and founding partner, disqualification of Roche Freedman is

12   necessary to resolve the impropriety exposed in the videos. Moreover, Mr. Roche is not the sole

13   beneficiary of Roche Freedman’s agreement with Ava Labs. Other Roche Freedman partners

14   similarly received tokens for the strategic “legal services” provided to Ava Labs, including at

15   least one other partner who has entered an appearance in this litigation and has not withdrawn.

16   Mr. Roche’s individual withdrawal from this action serves as an admission that he is unable to

17   adequately represent the putative class. Neither is Roche Freedman. Disqualification would not

18   prejudice Lead Plaintiff or the putative class at this early stage of the litigation as they may be

19   afforded sufficient time to obtain replacement counsel.

20   II.    RELEVANT FACTS

21          On August 9, 2021, Roche Freedman filed this action on behalf of a putative class of

22   “[a]ll persons who purchased ICP tokens from May 10, 2021, to the present”. (ECF No. 1 at 28.)

23   On October 12, 2021, Henry Rodriguez filed a motion for appointment as Lead Plaintiff and to

24   appoint Roche Freedman as Lead Counsel. (ECF No. 21.) In emphasizing that “Roche

25   Freedman’s lawyers [] have unique and unparalleled expertise with respect to litigation involving

26   cryptoassets like ICP”, the motion identifies Mr. Roche as “a lead attorney from Roche

27   Freedman”, and “a recognized thought leader in the industry” who “has published multiple

28   articles on the intersection of cryptoassets and the law” and “represents plaintiffs in some of the
                                                       2
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 1   most significant disputes in the crypto industry”. (Id. at 10.) On December 20, 2021, the Court

 2   appointed Roche Freedman as Lead Counsel in this Action. (ECF No. 42.)

 3           On August 26, 2022, Crypto Leaks released a report and a series of video clips in which

 4   Mr. Roche describes his firm’s close ties to Ava Labs—a company that develops a blockchain

 5   called Avalanche—and its executives, his financial interest in Ava Labs, and his firm’s improper

 6   use of litigation against Ava Labs’ competitors. See Ex. 1, Ava Labs (Avalanche) attacks Solana

 7   & cons SEC in evil conspiracy with bought law firm, Roche Freedman (Aug. 26, 2022),

 8   https://cryptoleaks.info/case-no-3. Mr. Roche states that he formed Roche Freedman on August

 9   1, 2019, the same day that Ava Labs launched, and that both companies shared the same co-

10   working space. 1 Mr. Roche says he “agreed to provide legal services in exchange for a certain

11   percentage” of the cryptocurrency tokens issued by Ava Labs (“AVAX”), and was one of the

12   first people to receive such tokens, along with equity in Ava Labs, for his services. 2 Indeed,

13   Mr. Roche explains that “obviously, I’m biased”, as he has “an interest in Ava Labs . . . a big

14   one. I did very well.” 3 Specifically, Mr. Roche indicates that he owns approximately 1% of the

15   AVAX token supply and the equity of Ava Labs, 4 worth tens of millions of dollars or more.

16   Mr. Roche admits his personal bias in favor of Ava Labs, agreeing that they have the “same

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18       1
          Video 1 (https://d33wubrfki0l68.cloudfront.net/1a432cb907f50390478d5c7b5c2c30c2454
     7d110/5ca00/videos/c3-00-office-ava-labs-launch.mp4).
19       2
           Video 2 (https://d33wubrfki0l68.cloudfront.net/ba470e47132c5cb938f344be9ff
20   d8261adc0eca2/6c3ea/videos/c3-01-office-deal-for-perc-token-supply.mp4). On September 13,
     2022, Ava Labs co-founder Emin Gün Sirer claimed in a blog post that Mr. Roche’s “equity
21   interest in Ava Labs . . . will end”. See Emin Gün Sirer, My Statement about the Crypto Leaks
     Lies, Medium.com (updated September 13, 2022) (https://el33th4x0r.medium.com/my-
22   statement-about-the-crypto-leaks-lies-ef2005da752). At a recent hearing in the Southern District
23   of New York, Roche Freedman attorneys nonetheless confirmed that at least some other partners
     at the Firm continue to hold interests in Ava Labs.
24       3
          Video 3 (https://d33wubrfki0l68.cloudfront.net/96d2fbedbfb4ac619f2656ce923aa707cfca
25   9cbe/3d59f/videos/c3-02-office-i-got-1-point-on-both.mp4).
         4
           Id. The market capitalization of AVAX is currently approximately $5 billion dollars,
26
     meaning Mr. Roche’s interest would be worth tens of millions of dollars. Mr. Roche also
27   explains that this interest amounts to “a third of what [Ava Labs co-founder] Kevin” Sekniqi
     received. Video 4 (https://d33wubrfki0l68.cloudfront.net/7360f4c61d57fad10a087c767c32f5e15
28   51088c1/f4e42/videos/c3-03-office-one-third-of-what-kevin-got.mp4).
                                                      3
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 1   interests, same goals”. 5 Mr. Roche describes his relationship with Ava Labs’ co-founders Emin

 2   Gün Sirer and Kevin Sekniqi as “like brothers”, 6 and Mr. Roche even says he now lives with

 3   Mr. Sekniqi. 7 Mr. Roche confirms that he helps Ava Labs “in many situations”, including

 4   regarding “regulation issues” and “competitors”. 8 According to Mr. Roche, “litigation is an

 5   underused tool”, one he confirms he uses as “a strategic instrument to support Ava Labs”. 9

 6   Because Mr. Roche was “fortunate in that I did the Ava Labs deal”, he claims that “it’s not about

 7   the money anymore for me it’s about taking you guys to trial and the sport of it”. 10 Mr. Roche

 8   emphasizes: “I don’t f***ing care about settling . . . I’m just a crazy motherf***er and I have

 9   resources, and I will take you to the end. And taking you to the end . . . it won’t be a nuisance

10   settlement. It will be, I’ve got a piece of paper that says I own your company now. That is

11   power . . . .” 11

12             Mr. Roche describes at least four ways that Roche Freedman uses litigation to support

13   Ava Labs. First, Mr. Roche states that Roche Freedman files class action lawsuits against Ava

14   Labs’ competitors, because as Mr. Roche states, “litigation can be a tool to competition . . . a

15   fantastic tool to competition”. 12 There is no dispute that Dfinity is a competitor to Ava Labs.

16

17        Video 5 (https://d33wubrfki0l68.cloudfront.net/61dabcad45d46c6207e4acded4ab3
          5

     4a49a0aa163/fc7a7/videos/c3-04-office-same-interests-same-goals.mp4).
18
          Video 5 (https://d33wubrfki0l68.cloudfront.net/61dabcad45d46c6207e4acded4ab3
          6

19   4a49a0aa163/fc7a7/videos/c3-04-office-same-interests-same-goals.mp4).
20        Video 7 (https://d33wubrfki0l68.cloudfront.net/789531f0f9b4b55626c52801967
          7

     703b1968bca18/b171a/videos/c3-06-office-i-live-with-kevin-in-miami.mp4).
21
          Video 4 (https://d33wubrfki0l68.cloudfront.net/7360f4c61d57fad10a087c767c32f5e15
          8

22   51088c1/f4e42/videos/c3-03-office-one-third-of-what-kevin-got.mp4).
23        Video 6 (https://d33wubrfki0l68.cloudfront.net/a799bb8bcde3170c313e3ad7662a41
          9

     148621c4d1/2fbf3/videos/c3-05-office-litigation-is-a-strategic-instrument.mp4).
24
          Video 19 (https://d33wubrfki0l68.cloudfront.net/b4a2e7900f289e01ce2b25dfa5a
          10

25   254850a22496d/e7035/videos/c3-17-i-can-sue-solana.mp4).
26        Video 18 (https://d33wubrfki0l68.cloudfront.net/2f1313a474fff7dedbb5432d16e8487
          11

     25ce51e04/4f9ab/videos/c3-16-im-a-crazy-motherfucker.mp4).
27
          Video 10 (https://d33wubrfki0l68.cloudfront.net/1edf92baa6d2ec8203a8568c7869ef
          12

28   5e4b326a71/428f7/videos/c3-09-magnets-for-sec-and-competitive-attacks.mp4).
                                                       4
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 1   Indeed, Mr. Roche says that “litigation is the most uncorrelated asset that exists, period”. 13

 2   Mr. Roche explains:

 3                  Q: Has Ava Labs filed a complaint against one of their
                    competitors?
 4                  Roche: No, they have me to do that on behalf of the class. Their
                    name was never . . .
 5                  Q: Explain.
 6                  Roche: So, I can sue Solana . . .
                    Q: Yeah.
 7                  Roche: But a plaintiff will purchase Solana. . .
                    Q: And what about Dfinity?
 8                  Roche: Oh yeah. 14
 9   Thus, by filing lawsuits on behalf of absent class members and unsuspecting lead plaintiffs,

10   Mr. Roche implies that Roche Freedman is able to conceal the true party in interest, Ava Labs,

11   while inflicting harm on Ava Labs’ competitors. Second, Mr. Roche explains that he acts as

12   “Ava Labs’ crypto expert”—expertise he gained “because [he] sue[d] half the companies in the

13   [cryptocurrency] space” and has “seen the insides of every single crypto company”. 15 In other

14   words, Mr. Roche implies that he uses the confidential information produced in discovery in

15   actions Roche Freedman files against blockchain companies to support Ava Labs. Third,

16   Mr. Roche agrees that he is Ava Labs’ “solver”, and boasts that he “deal[s] with making sure that

17   . . . the SEC and the CFTC have other magnets to go after” instead of Ava Labs. 16 Mr. Roche

18   emphasizes that since the CEO of Ava Labs “signed [him] up”, he has “ensured that there’s no

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21
          Video 25 (https://d33wubrfki0l68.cloudfront.net/443e70d9f96180e7219809abc4926
         13


22   26856fbde02/7f50a/videos/c3-23-litigation-is-the-most-uncorrelated-asset.mp4).

23
         14
           Video 19 (https://d33wubrfki0l68.cloudfront.net/b4a2e7900f289e01ce2b25dfa5a254
     850a22496d/e7035/videos/c3-17-i-can-sue-solana.mp4). Mr. Roche also confirms that Dfinity is
24   a competitor of Ava Labs. Video 17 (https://d33wubrfki0l68.cloudfront.net/b660cb79f51a
     071ece800cda7fc3521e5e21a59d/0467e/videos/c3-16-0-dfinity-is-a-competitor-to-
25   avalanche.mp4).
26        Video 8 (https://d33wubrfki0l68.cloudfront.net/68e1d6812f6e7b039402f74be62f
         15

     625271142a20/73af8/videos/c3-07-office-i-sue-crypto-companies-to-see-inside.mp4).
27
          Video 10 (https://d33wubrfki0l68.cloudfront.net/1edf92baa6d2ec8203a8568c7869ef
         16

28   5e4b326a71/428f7/videos/c3-09-magnets-for-sec-and-competitive-attacks.mp4).
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 1   such thing as regulation for what they want to do”. 17 Fourth, Mr. Roche describes litigation used

 2   to enforce the personal vendettas of Ava Labs CEO, Emin Gün Sirer (“Gün”). Mr. Roche says

 3   that he “took down one of Gün’s biggest archnemeses”, 18 and sued another individual who

 4   criticized Gün on social media, emphasizing “that’s why Gün loves me”. 19

 5            Mr. Roche also describes his views of the legal process, particularly with respect to

 6   securities class actions: “I don’t think there’s any reason to settle for less than half a billion to a

 7   billion. But for me, if we get $100 million settlement we are in the front page of all the legal

 8   press and so it’s good for my partners and my firm.” 20 Mr. Roche goes on to disparage the

 9   plaintiff classes he purports to represent, describing them as “100,000 idiots”. Mr. Roche says:

10   “I go to the Court, and I say, ‘hey Court, I got $100 million for these 100,000 idiots out here.

11   Give me $30 million and then I will administer’”. 21 As for juries, Mr. Roche characterizes them

12   as “10 idiots [who] control the flow of all the money that happens in American class actions”. 22

13            On September 1, 2022, following the release of these videos, Roche Freedman filed a

14   Notice of Withdrawal of Kyle W. Roche as Counsel for Plaintiffs in this action, noting that

15   “Mr. Roche is no longer involved in [Roche Freedman’s] class action practice and is therefore

16   withdrawing as counsel of record in this case”. (ECF No. 70.) Around that same day,

17   Mr. Roche filed similar notices in several other actions his law firm brought against Ava Labs

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19        Video 11 (https://d33wubrfki0l68.cloudfront.net/91987bc2f582f24ecb688ab4c137a
         17

     485d139dfe1/b4646/videos/c3-10-office-theres-no-such-thing-as-regulation.mp4).
20
          Video 15 (https://d33wubrfki0l68.cloudfront.net/54bcd83ef86e546fa4f97c2e481fba
         18

21   064e228c8d/483a3/videos/c3-14-gun-goes-after-craig-wright.mp4).

22
         19
            Video 14 (https://d33wubrfki0l68.cloudfront.net/ccce812b0d07fc6c1bb9928d1a7a9
     9db011ed1af/13125/videos/c3-13-gun-watches-video-once-a-month.mp4); see also Video 12
23   (https://d33wubrfki0l68.cloudfront.net/09acbd864d61cc489ffeb0fe889e19f7c0fce682/6e048/vid
     eos/c3-11-troll-says-gun-member-feto.mp4).
24
          Video 23 (https://d33wubrfki0l68.cloudfront.net/6ab1d54cf47b4b43a28ec4d52d2a12be50
         20

25   78b5d7/8826b/videos/c3-21-no-reason-to-settle-less-than-500m.mp4).
26        Video 24 (https://d33wubrfki0l68.cloudfront.net/ca154b2403c4f503206afd0666cf4694c2
         21

     3c8dd3/de306/videos/c3-22-these-100000-idiots.mp4).
27
          Video 22 (https://d33wubrfki0l68.cloudfront.net/f580f15300ae3305352a21a810a4cbce
         22

28   4b1247a7/73e42/videos/c3-20-ten-idiots-control-the-flow.mp4).
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 1   competitors. See Ex. 2 (Young v. Solana Labs, Inc. et al., 22-cv-03912 (N.D. Cal.) (ECF

 2   No. 28)); Ex. 3 (Lockhart v. BAM Trading Services Inc., et al., 22-cv-03461 (N.D. Cal.) (ECF

 3   No. 33)); Ex. 4 (Jeong v. Nexo Financial LLC, et al., 21-cv-02392 (N.D. Cal.) (ECF No. 70));

 4   Ex. 5 (Hardin and Williams v. TRON Foundation, et al., 20-cv-02804 (S.D.N.Y.) (ECF No. 88));

 5   Ex. 6 (Anderson, et al. v. Binance, et al., 20-cv-02803 (S.D.N.Y.) (ECF No. 80)); Ex. 7

 6   (Messieh v. HDR Global Trading Ltd., No. 20‐cv‐3232 (S.D.N.Y.) (ECF No. 105)); and Ex. 8 (In

 7   re Tether and Bitfinex Crypto Asset Litigation, 19-cv-9236 (S.D.N.Y.) (ECF No. 229)). In

 8   another case, Roche Freedman, as a firm, voluntarily filed a motion to withdraw its

 9   representation of the putative class “[g]iven recent restructuring of its class action practice group,

10   the press of its current business, and the early stage of this litigation”. See Ex. 9 (Williams et al.

11   v. Block.one, et al., 20‐cv‐2809 (S.D.N.Y.) (ECF No. 154)).

12          Counsel in at least four actions also have moved to disqualify Roche Freedman as

13   counsel in light of these recent developments. See Ex. 8 (In re Tether and Bitfinex Crypto Asset

14   Litigation, 19-cv-9236 (S.D.N.Y.) (ECF Nos. 230–236, 248)); Ex. 5 (Hardin and Williams v.

15   TRON Foundation, et al., 20-cv-02804 (S.D.N.Y.) (ECF Nos. 89, 92–93)); Ex. 7 (Messieh v.

16   HDR Global Trading Ltd., No. 20‐cv‐3232 (S.D.N.Y.) (ECF Nos. 106–09)); Ex. 10 (Motion to

17   Disqualify Roche Freedman LLP, Kleiman v. Wright, No. 22-11150 (11th Cir. September 6,

18   2022)). In three of these cases, not only do counsel for Defendants seek to disqualify Roche

19   Freedman, but co-Lead Counsel for the class also seek to have Roche Freedman removed

20   because “Roche Freedman’s continued involvement in the litigation is not in the best interests of

21   the class”. Ex. 5 (Hardin and Williams (ECF No. 93)); see also Ex. 8 (In re Tether and Bitfinex

22   Crypto Asset Litigation (ECF No. 234)) (“Roche Freedman’s continued representation of the

23   class would likely spawn significant discovery and motion practice as to the veracity and/or

24   import of the allegations [in the videos]. These issues are likely to unnecessarily distract from the

25   merits of this dispute, and can be avoided by the removal of Roche Freedman as class counsel.”);

26   Ex. 7 (Messieh v. HDR Global Trading Ltd. (ECF Nos. 107–108)) (same).

27           In responding to these motions, Mr. Roche did not contest the authenticity of the video

28   clips. Instead, he indicated that they were taken without his knowledge while he was intoxicated,
                                                        7
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 1   although certain video clips appear to have been taken at different times and when Mr. Roche is

 2   not drinking nor exhibiting any signs of intoxication. See Ex. 8 (Affidavit of Kyle W. Roche, In

 3   re Tether and Bitfinex Crypto Asset (ECF No. 232-1)).

 4   III.        LEGAL STANDARD

 5               Attorneys practicing in the Northern District of California must adhere to the California

 6   Rules of Professional Conduct (the “Rules”). 23 Civ. L.R. 11-4; see also Visa U.S.A., Inc. v. First

 7   Data Corp., 241 F. Supp. 2d 1100, 1103 (N.D. Cal. 2003). Disqualification of counsel based on

 8   a violation of the Rules is governed by California state law. See Rodriguez v. West Publ’g Corp.,

 9   563 F.3d 948, 967 (9th Cir. 2009); In re Cty. of Los Angeles, 223 F.3d 990, 995 (9th Cir. 2000).

10   The “right to disqualify counsel is within the discretion of the trial court as an exercise of its

11   inherent powers”. First Data Corp., 241 F. Supp. 2d at 1103 (citing United States v. Wunsch,

12   84 F.3d 1110, 1114 (9th Cir. 1996)). In deciding a motion to disqualify counsel, “[t]he

13   paramount concern must be to preserve public trust in the scrupulous administration of justice

14   and the integrity of the bar.” People ex rel. Dep’t of Corps. v. SpeeDee Oil Change Sys., Inc., 20

15   Cal. 4th 1135, 1145 (1999). While clients have the “right to counsel of one’s choice”, that right

16   “must yield to ethical considerations that affect the fundamental principles of our judicial

17   process”. Id.

18               “Two requirements must be met in order for the Court to disqualify counsel. First,

19   counsel must have violated the Rules of Professional Conduct. . . . Second, the Court must

20   conclude that it is appropriate to order disqualification.” Klein v. Facebook, Inc., No. 20-cv-

21   08570, 2021 WL 3053150, at *4 (N.D. Cal. July 20, 2021) (internal citations omitted). In a class

22   action governed by Federal Rule of Civil Procedure 23 and the Private Securities Litigation

23   Reform Act of 1995 (“PSLRA”), “disqualification is more likely because putative class counsel

24   are subject to a ‘heightened standard’ which they must meet if they are to be allowed by the

25   Court to represent absent class members”. Huston v. Imperial Credit Com. Mortg. Inv. Corp.,

26
           On November 11, 2021, Mr. Roche and each of the other Roche Freedman attorneys
            23


27   appearing in this action filed Motions for leave to appear Pro Hac Vice, in which they each
     agreed to abide by the Local Rules of this Court including the “Standards of Professional
28   Conduct for attorneys”. (ECF Nos. 24–27.)
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 1   179 F. Supp. 2d 1157, 1167 (C.D. Cal. 2001) (quoting Palumbo v. Tele-Communications, Inc.,

 2   157 F.R.D. 129, 132–33 (D.D.C. 1994)).

 3   IV.        ARGUMENT

 4              A.     Mr. Roche Violated the California Rules of Professional Conduct.

 5              California Rule of Professional Conduct 1.7(b) provides that “[a] lawyer shall not . . .

 6   represent a client if there is a significant risk the lawyer’s representation of the client will be

 7   materially limited by the lawyer’s responsibilities to or relationships with another client, a former

 8   client or a third person, or by the lawyer’s own interests.” Cal. R. Prof’l Conduct 1.7(b). The

 9   Comment to Rule 1.7 emphasizes: “Even where there is no direct adversity, a conflict of interest

10   . . . under paragraph (b) exists if there is a significant risk that a lawyer’s ability to consider,

11   recommend or carry out an appropriate course of action for the client will be materially limited

12   as a result of the lawyer’s other responsibilities, interests, or relationships, whether legal,

13   business, financial, professional, or personal.” Cal. R. Prof’l Conduct 1.7, Comment 4.

14   Attorneys “have a duty to maintain undivided loyalty to their clients to avoid undermining public

15   confidence in the legal profession and the judicial process”. SpeeDee Oil Change, 20 Cal. 4th at

16   1146; see also Kayes v. Pac. Lumber Co., 51 F.3d 1449, 1465 (9th Cir. 1995) (“The

17   responsibility of class counsel to absent class members whose control over their attorneys is

18   limited does not permit even the appearance of divided loyalties of counsel. . . . The ‘appearance’

19   of divided loyalties refers to differing and potentially conflicting interests and is not limited to

20   instances manifesting such conflict.”).

21              On camera, Mr. Roche vividly states—in his own words that he never thought would be

22   discovered by the Court—that his personal interests and loyalties to Ava Labs come before, and

23   predominate over, the interests of the putative class. Mr. Roche agrees that he uses litigation as a

24   “strategic instrument to support Ava Labs”, and specifically states that he files class action

25   lawsuits—including against Dfinity—so that Ava Labs does not appear as plaintiff. 24

26
            Video 6 (https://d33wubrfki0l68.cloudfront.net/a799bb8bcde3170c313e3ad7662a41
           24


27   148621c4d1/2fbf3/videos/c3-05-office-litigation-is-a-strategic-instrument.mp4); Video 19
     (https://d33wubrfki0l68.cloudfront.net/b4a2e7900f289e01ce2b25dfa5a
28   254850a22496d/e7035/videos/c3-17-i-can-sue-solana.mp4).
                                                         9
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 1   Mr. Roche’s admissions regarding the use of “strategic” litigation as a competitive tool for Ava

 2   Labs provide ample evidence that Mr. Roche has compromised his ability to consider,

 3   recommend or carry out an appropriate course of action for the putative class in violation of

 4   Rule 1.7(b). Indeed, Mr. Roche states that his priorities are to use litigation as a tool against

 5   competitors of Ava Labs, obtain confidential information regarding “the companies in the

 6   [crypto] space” to benefit Ava Labs, 25 and maintain lawsuits to direct the attention of regulators

 7   to “other magnets” to avoid scrutiny of Ava Labs. 26 Mr. Roche has referred to litigation itself as

 8   a “tool to competition”, and has implied that he misuses the discovery process to “see the

 9   insides” of his clients’ competitors. (Id.)

10            Mr. Roche further explains that, because of the payment he has received from Ava Labs,

11   he doesn’t “care about settling”. Mr. Roche specifically states that because of the compensation

12   he has received from Ava Labs, “it’s not about the money anymore for me it’s about taking you

13   guys to trial and the sport of it”. 27 While he considers a large settlement “good for my partners

14   and my firm” if it’s on “the front page of all the legal press”, he disparages the clients he is

15   meant to represent as “idiots”. 28 Prioritizing payment and publicity of Roche Freedman at the

16   expense of the putative class members is a conflict of interest that directly violates the Rules.

17   See Cal Pak Delivery, Inc. v. United Parcel Serv., Inc., 52 Cal. App. 4th 1, 11 (1997) (case in

18   which lawyer offered to “sell out” client for payment was “factually distinguishable from most of

19   the disqualification cases, but the most notable difference is the magnitude of the ethical lapse”).

20

21

22        Video 8 (https://d33wubrfki0l68.cloudfront.net/68e1d6812f6e7b039402f74be62f
         25

     625271142a20/73af8/videos/c3-07-office-i-sue-crypto-companies-to-see-inside.mp4).
23
          Video 10 (https://d33wubrfki0l68.cloudfront.net/1edf92baa6d2ec8203a8568c7869ef
         26

24   5e4b326a71/428f7/videos/c3-09-magnets-for-sec-and-competitive-attacks.mp4).

25
         27
            Video 18 (https://d33wubrfki0l68.cloudfront.net/2f1313a474fff7dedbb5432d16e8487
     25ce51e04/4f9ab/videos/c3-16-im-a-crazy-motherfucker.mp4); Video 19
26   (https://d33wubrfki0l68.cloudfront.net/b4a2e7900f289e01ce2b25dfa5a254
     850a22496d/e7035/videos/c3-17-i-can-sue-solana.mp4).
27
          Video 23 (https://d33wubrfki0l68.cloudfront.net/6ab1d54cf47b4b43a28ec4d52d2a12be50
         28

28   78b5d7/8826b/videos/c3-21-no-reason-to-settle-less-than-500m.mp4).
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 1            Mr. Roche not only demeans the putative classes he claims to represent—referring to

 2   them as “100,000 idiots” 29—but also derisively refers to juries as “10 idiots [who] control the

 3   flow of all the money that happens in American class actions”. 30 Such statements mock the legal

 4   profession and the judicial process.

 5            As described above, on September 1, 2022, after Mr. Roche’s breach of the Rules was

 6   exposed, he withdrew as counsel of record in this action. (ECF No. 70.)

 7            B.     Mr. Roche’s Individual Withdrawal Does Not Cure the Violation.

 8            California Rule of Professional Conduct 1.10 provides that “[w]hile lawyers are

 9   associated in a firm, none of them shall knowingly represent a client when any one of them

10   practicing alone would be prohibited from doing so by rule[] 1.7”. “The vicarious

11   disqualification rule recognizes the everyday reality that attorneys, working together and

12   practicing law in a professional association, share each other’s, and their clients’, confidential

13   information.” SpeeDee Oil Change, 20 Cal. 4th at 1153–54. Mr. Roche has violated Rule 1.7,

14   and pursuant to the plain language of Rule 1.10, such violation is imputed to Roche Freedman.

15            The individual withdrawal of Mr. Roche does not address the serious issues regarding his

16   statements about the misuse of class action lawsuits generally and the potential misuse of

17   discovery imputed to Roche Freedman. Even though Mr. Roche is no longer counsel of record,

18   there can be no dispute that, as the named partner of the small firm that he founded, should this

19   action proceed with Roche Freedman as counsel there would be an ongoing concern about his

20   access to discovery materials and he would retain the ability to direct the conduct of other

21   lawyers at the firm. Mr. Roche’s declaration that he uses lawsuits such as this one as a “tool to

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23

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25

26        Video 24 (https://d33wubrfki0l68.cloudfront.net/ca154b2403c4f503206afd0666cf4694c2
         29

     3c8dd3/de306/videos/c3-22-these-100000-idiots.mp4).
27
          Video 22 (https://d33wubrfki0l68.cloudfront.net/f580f15300ae3305352a21a810a4cbce
         30

28   4b1247a7/73e42/videos/c3-20-ten-idiots-control-the-flow.mp4).
                                                      11
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 1   competition” 31 and that he has “seen the insides” of blockchain companies 32 offers further

 2   support for vicarious disqualification, as Mr. Roche seems to say that it was his intention all

 3   along to abuse the discovery process in order to advise Ava Labs—a client in which Mr. Roche

 4   and Roche Freedman have a substantial financial interest through their ownership of tens of

 5   millions of dollars in AVAX tokens.

 6            These concerns are magnified by Mr. Roche’s position at his namesake firm, and Roche

 7   Freedman’s extensive relationship with Ava Labs. Mr. Roche is a founding and named partner

 8   of Roche Freedman, a boutique firm with fewer than ten partners across all practice areas. In a

 9   résumé filed with this Court, Roche Freedman identifies only two attorneys under

10   “Cryptocurrency Expertise”: Kyle Roche and co-founding partner Devin “Velvel” Freedman.

11   (ECF No. 21-6.) Both Mr. Roche and Mr. Freedman apparently own substantial amounts of

12   AVAX tokens, as do other attorneys at Roche Freedman, including Edward Normand, who has

13   entered an appearance in this litigation and has not withdrawn. See Ex. 11 (Compl. Ex. A,

14   Cyrulnik v. Roche Freedman, et al., No. 2021-5837-CA-01 (Fla. 11th Cir. Ct., Mar. 9, 2021),

15   Dkt. No. 2). 33 The small size of the firm and the widespread relationship with Ava Labs

16   “exacerbates the problem of proximity” contemplated by Rule 1.10. Hitachi, Ltd. v. Tatung Co.,

17   419 F. Supp. 2d 1158, 1165 (N.D. Cal. 2006).

18
          Video 10 (https://d33wubrfki0l68.cloudfront.net/1edf92baa6d2ec8203a8568c7869ef
         31

19   5e4b326a71/428f7/videos/c3-09-magnets-for-sec-and-competitive-attacks.mp4).
20        Video 8 (https://d33wubrfki0l68.cloudfront.net/68e1d6812f6e7b039402f74be62f
         32

     625271142a20/73af8/videos/c3-07-office-i-sue-crypto-companies-to-see-inside.mp4).
21
         33
            Ongoing litigation between former and current Roche Freedman partners over the
22   distribution of tokens from Ava Labs provides further evidence of Roche Freedman’s ties to Ava
     Labs. Mr. Roche and Roche Freedman were sued by a former Roche Freedman partner who
23   alleges that Mr. Roche and others “illegally oust[ed]” him from the firm to take his portion of “a
24   fee payable in cryptocurrency by one of the Firm’s clients that only days before had suddenly
     appreciated exponentially to more than $250 million”. Ex. 11 (Compl. at p. 1, Cyrulnik v. Roche
25   Freedman, et al., No. 2021-5837-CA-01 (Fla. 11th Cir. Ct., Mar. 9, 2021), Dkt. No. 2). The
     complaint appends a Memorandum of Understanding, which provides that “[i]n exchange for
26   legal services, Ava Labs has agreed to pay Roche Freedman LLP a certain amount of Tokens
     over a thirty-six month period beginning on September 30, 2019”, and identifies distribution of
27   Ava Labs tokens to Mr. Roche, Mr. Freedman, Mr. Normand and others. Id. Ex. A.
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                                                      12
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 1          Accordingly, any attempt by Roche Freedman to impose an ethical wall or screen

 2   between Mr. Roche and other attorneys at Roche Freedman would not cure the violation. See id.

 3   (holding that “screening procedures utilized” at small firm were “insufficient to adequately . . .

 4   prevent the appearance of impropriety”). Should this action survive Defendants’ motion to

 5   dismiss, Defendants have serious concerns about proceeding to discovery based on Mr. Roche’s

 6   stated intention to “see[] inside” Ava Labs’ competitors for the benefit of Ava Labs. There is no

 7   doubt that Mr. Roche will continue to have “substantial contact” with the other attorneys in this

 8   practice that seek to continue to represent the class in this action (id.), including Mr. Normand,

 9   who remains in the case and who reportedly receives Ava Labs tokens pursuant to a firm

10   agreement. See Ex. 11 (Compl. Ex. A, Cyrulnik v. Roche Freedman, et al., No. 2021-5837-CA-

11   01 (Fla. 11th Cir. Ct., Mar. 9, 2021), Dkt. No. 2). Roche Freedman should not be permitted to

12   continue as Lead Counsel when there is even a suggestion that it may use knowledge that it gains

13   in discovery to benefit another client. Mr. Roche’s violations of the Rules must be imputed to

14   Roche Freedman under Rule 1.10.

15          C.      Disqualification of Roche Freedman is Appropriate.

16          Mr. Roche’s statements regarding his and his firm’s abuse of the class action mechanism,

17   his conflicted motivations for filing this and other suits, and improper use of confidential

18   materials obtained in discovery, coupled with disparaging comments about clients and the

19   judicial system, provide ample reason for this Court to disqualify Roche Freedman from serving

20   as counsel for the class in this action. See In re Coordinated Pretrial Proc. in Petroleum Prod.

21   Antitrust Litig., 658 F.2d 1355, 1360–61 (9th Cir. 1981) (“In order that the court may in fact

22   control the conduct of attorneys appearing before it, the court should have the ability to

23   disqualify attorneys if their conduct actually interferes with the integrity of the court, or actually

24   produces an appearance of impropriety.”). The “paramount concern” when considering a motion

25   to disqualify “must be to preserve public trust in the scrupulous administration of justice and the

26   integrity of the bar.” Klein, 2021 WL 3053150, at *8 (quoting SpeeDee Oil Change, 20 Cal. 4th

27   at 1145).

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 1          The critical factor that weighs heavily in favor of disqualifying Roche Freedman is that

 2   this is a putative class action governed by Fed. R. Civ. P. 23 and the PSLRA, in which class

 3   counsel is subject to a heightened standard to fairly represent absent class members. “In the

 4   class action context, the Court has an obligation to closely scrutinize the qualifications of counsel

 5   to assure that all interests, including those of as yet unnamed plaintiffs are adequately

 6   represented.” Huston, 179 F. Supp. 2d at 1167 (citing Fed. R. Civ. P. 23(a)(4)). It is “[p]recisely

 7   because of the responsibility to absent class members” that counsel “in the class action context

 8   are subject to a heightened standard”. Cal Pak Delivery, 52 Cal. App. 4th at 12. Accordingly,

 9   disqualification of counsel where a breach of the Rules has occurred in the class action setting is

10   “even more compelling”, id., and “more likely” than individual representations, Huston, 179

11   F. Supp. 2d at 1167. This heightened standard applies even before a class is certified, during

12   which time Lead Counsel is still obligated to “protect the interests of the putative class” and “act

13   in the best interests of the class as a whole”. Fed. R. Civ. P. 23, Advisory Committee’s notes to

14   2003 amendments. Absent class members may not be aware of Roche Freedman’s “betrayal of

15   their interests”; if they were, they may “harbor continuing doubts about [the firm’s] loyalty and

16   the integrity of the judicial proceedings”, which is reason alone to grant this motion to disqualify.

17   Cal Pak Delivery, 52 Cal. App. 4th at 12.

18          These same issues also would prevent Roche Freedman’s appointment as class counsel at

19   the class certification stage under Fed. R. Civ. P. 23(g), which requires the Court to determine,

20   among other things, that class counsel “fairly and adequately represent[s] the interests of the

21   class” considering “any . . . matter pertinent to counsel’s ability” to do so. Fed. R. Civ. P.

22   23(g)(1), (4). Indeed, Roche Freedman all but admitted it will fail to overcome this hurdle in

23   another class action, when it recently withdrew from that action. In Williams v. Block.one, et al.,

24   20‐cv‐2809 (S.D.N.Y.), the court denied lead plaintiff’s motion for final approval of a proposed

25   class action settlement because lead plaintiff’s interests conflicted with the class. Ex. 9

26   (Block.one (ECF No. 146)). Roche Freedman quickly filed a motion to substitute as lead

27   plaintiff an individual that selected Roche Freedman as counsel, and to appoint Roche Freedman

28   as co-lead counsel. Id. (ECF Nos. 148–49). Before its motion was decided, these videos were
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 1   released and Roche Freedman withdrew, citing “recent restructuring of its class action practice

 2   group, the press of its current business, and the early stage of this litigation”. Id. (ECF No. 154).

 3   Roche Freedman’s filing evidences its recognition that the firm is unable to fairly and adequately

 4   represent a class in an action against Ava Labs competitors. Indeed, co-lead counsel for other

 5   putative classes have sought to remove Roche Freedman as class counsel because “Roche

 6   Freedman’s continued involvement in the litigation is not in the best interests of the class”. Ex. 5

 7   (Hardin and Williams (ECF No. 93)); see also Ex. 8 (In re Tether and Bitfinex Crypto Asset

 8   Litigation (ECF No. 234)); Ex. 7 (Messieh v. HDR Global Trading Ltd. (ECF Nos. 107–108)).

 9           Disqualifying Roche Freedman would not prejudice Lead Plaintiff or the putative class,

10   particularly given the early stage of the litigation. See Beltran v. Avon Prod., Inc., 867 F. Supp.

11   2d 1068, 1084 (C.D. Cal. 2012) (“[P]rejudice to Plaintiff is minimal given the early stage of the

12   litigation.”). The motion to dismiss has not yet been decided, and the PSLRA automatic stay

13   remains in effect. See Diva Limousine, Ltd. v. Uber Techs., Inc., No. 18-cv-05546, 2019 WL

14   144589, at *14 (N.D. Cal. Jan. 9, 2019) (finding that “[non-movant] has not described any

15   particular prejudice it would suffer as a result of” counsel’s disqualification because “[t]his case

16   is still in its early stages; no discovery has been conducted”). Accordingly, Lead Plaintiff and

17   the putative class will not be prejudiced by identifying replacement counsel, but will benefit

18   from lead counsel who is driven by the best interests of the putative class rather than the interests

19   of itself and third parties.

20   V.      CONCLUSION

21           For the foregoing reasons, Defendants respectfully request that Roche Freedman be

22   disqualified from representing Lead Plaintiff and the putative class in this Action.

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 1

 2   Dated:     October 4, 2022         CRAVATH, SWAINE & MOORE LLP
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